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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
BGK:TRP                                          271 Cadman Plaza East
F. #2016R0467                                    Brooklyn, New York 11201



                                                 August 17, 2022

By ECF
The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Tim Leissner
                     Criminal Docket No. 18-439 (MKB)

Dear Judge Brodie:

               Enclosed please find a proposed Amended Preliminary Order of Forfeiture
(the “Amended Order”) in the above-referenced case, the terms of which the defendant, Tim
Leissner, has agreed to in connection with his guilty plea. The government respectfully
requests that the Court “so order” the enclosed Amended Order in accordance with Fed. R.
Crim. P. 32.2 (b)(2)(A).



                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                         By:      /s/ Tanisha R. Payne
                                                 Tanisha R. Payne
                                                 Assistant U.S. Attorney
                                                 (718) 254- 6358

Encl.: Amended Preliminary Order of Forfeiture
cc:    Counsel of Record (by ECF)
